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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )
                                             )          4:08CR3009
                    Plaintiff,               )
                                             )
      vs.                                    )
                                             )          ORDER
JOHN M.S. BROWN,                             )
                                             )
                    Defendant.               )

      IT IS ORDERED that:

      (1)    The government’s request for hearing (filing 220) is granted.

      (2)     A hearing on the government’s motion for reduction of sentence pursuant to
Rule 35(b) (filing 215) has been set before the undersigned United States district judge on
Wednesday, February 10, 2010, at 12:30 p.m., in Courtroom No. 1, United States Courthouse
and Federal Building, 100 Centennial Mall North, Lincoln, Nebraska.

       (3)     At the request of the defendant through his counsel, the defendant will
participate in the hearing by telephone.

      (4)    The Marshal is directed not to return the defendant to the district.

      (5)    The defendant is held to have waived his right to be present.

      Dated January 14, 2010.

                                         BY THE COURT:

                                         Richard G. Kopf
                                         United States District Judge
